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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                    )
PHYLLIS MARY LAHEY,                                 )
                                                    )
                Plaintiff,                          )
                                                    )
                v.                                  )         Civil Action No.
                                                    )         20-10695-FDS
LAWRENCE GENERAL HOSPITAL, et                       )
al.,                                                )
                                                    )
                Defendants.                         )
                                                    )

                                              ORDER

SAYLOR, C.J.

       For the reasons stated below, the Court will order that this action be dismissed without

prejudice.

       Pro se litigant Phyllis Mary Lahey filed a civil complaint alleging employment

discrimination. She also filed a motion for leave to proceed in forma pauperis.

       In an August 6, 2020 order (Docket No. 6), the Court denied Lahey’s motion for leave to

proceed in forma pauperis and directed her to pay the $400 filing fee or show good cause why

she was unable to do so. The Court stated that failure to comply with the order within twenty-

one days could result in dismissal of the action.

       The time period for complying with the Court’s August 6, 2020 order has passed without

any response from Lahey. Accordingly, the Court orders that this action be DISMISSED

without prejudice for failure to pay the filing fee.

So Ordered.


                                                         /s/ F. Dennis Saylor IV
                                                        F. Dennis Saylor IV
Dated: November 6, 2020                                 Chief Judge, United States District Court
